Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 1 of 30



                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

   MARK KRIEGER,                                           CASE NO.: 22-CV-81037
           Plaintiff,
   v.
   TD BANK, N.A., a National
   Banking       Association,      EQUIFAX
   INFORMATION SERVICES, LLC, a
   Georgia Limited Liability Company,
   EXPERIAN INFORMATION SERVICES,
   INC.,     an   Ohio    Corporation,  and
   TRANSUNION, LLC, a Delaware Limited
   Liability Company,

          Defendants.
                                                /

                                       AMENDED COMPLAINT

         Plaintiff Mark Krieger (“Krieger” or “Plaintiff”), by and through undersigned counsel, hereby

  files this Amended Complaint and sues Defendants, TD BANK, N.A., a National Banking Association

  (“TD”), Equifax Information Services, LLC (“Equifax”), Experian Information Solution, Inc.

  (“Experian), and Transunion, LLC (“Transunion” or collectively with Equifax and Experian, the

  “Credit Bureaus”) (collectively, the “Defendants”), and states:

                                            INTRODUCTION

         Plaintiff brings this action for damages and equitable relief against Defendant TD for: (i)

  breach of contract, (ii) breach of the implied covenant of good faith and fair dealing, (iii) violation of

  26 U.S.C. § 6050H, (iv) negligence, (v) negligence per se, (vi) violation of 26 U.S.C. § 7434, (vii)

  equitable estoppel, (viii) violation of Florida Consumer Collection Practices Act, Chapter 559, Florida

  Statutes (hereinafter, the “FCCPA”), (ix) violation of the Fair Debt Collection Practices Act, 15 U.S.C.

  §1692, et seq. (hereinafter, the “FDCPA”), (x) violation of the Real Estate Settlement Procedures Act,


                                                     -1-
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Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 2 of 30



  12 U.S.C. §2601, et seq. (hereinafter, “RESPA”), (xi) violation of the Fair Credit Reporting Act, 15

  U.S.C. §1681, et. seq. (hereinafter, the “FCRA”), (vii) gross negligence, and (viii) intentional

  infliction of emotional distress, each of which claim arises from, as a result of, and/or has been caused

  by the improper conduct of Defendant TD relating to its failure to comply with the terms of the subject

  note and mortgage (as amended and modified), Defendant’s willful disregard of its obligations owed

  to Plaintiff pursuant to 26 U.S.C. § 6050H, RESPA, and the FCRA, in addition to Defendant TD’s

  unlawful debt collection practices in direct violation of the FCCPA and FDCPA. Plaintiff further

  brings this action for damages against each of the Credit Bureaus for their willful and negligent

  violations of the FCRA in connection with their continued failure to remove and correct inaccurate

  and derogatory credit information provided by Defendant TD relating to Plaintiff.

                               PARTIES, JURISDICTION AND VENUE

         1.      At all times relevant hereto, Plaintiff Krieger is and was a citizen of the State of Florida,

  and a resident of Palm Beach County, Florida.

         2.      At all times relevant hereto, Plaintiff Krieger is and has been the owner of record of

  the residential real property located at 8694 Stone Pier Drive, Boynton Beach, Florida 33437 (the

  “Property”).

         3.      Upon information and belief, at all times relevant hereto, Defendant TD is and has been

  a national banking institution, with its principal place of business located at Two Portland Square,

  Portland, ME 04112. At all times relevant hereto, Defendant TD was authorized to do business, and

  was in fact doing business in this District.

         4.      Upon information and belief, at all times relevant hereto, Defendant Equifax is a

  limited liability company existing under the laws of the state of Georgia, with its principal place of

  business located at 1550 Peachtree Street NW, H-46, Atlanta, GA 30309.


                                                      -2-
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                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 3 of 30



         5.      Upon information and belief, at all times relevant hereto, Defendant Experian is a

  corporation existing under the laws of the state of Ohio, with its principal place of business located at

  475 Anton Boulevard, Costa Mesa, CA 92626.

         6.      Upon information and belief, at all times relevant hereto, Defendant Transunion is a

  limited liability company existing under the laws of the state of Delaware, with its principal place of

  business located at 555 West Adams Street, Chicago, IL 43215.

         7.      This Court has jurisdiction over this cause of action pursuant to 28 U.S.C. § 1331

  because this action arises under the laws of the United States, in addition to pursuant to 28 U.S.C. §

  1332(a), as the amount in controversy exceeds the sum or value of $75,000.00, exclusive of interest

  and costs and there is complete diversity amongst the Plaintiff and Defendants. This Court also has

  supplemental jurisdiction over Plaintiff’s state law claims under 28 U.S.C. § 1367.

         8.      At all material times herein, Plaintiff is a “consumer” as defined by 15 U.S.C. §

  1681a(c) of the FCRA.

         9.      At all material times herein, Experian is and has been a “consumer reporting agency”

  as defined by 15 U.S.C. § 1681a(f) of the FCRA and regularly engages in the business of assembling,

  evaluating, and disseminating information concerning customers for the purpose of furnishing

  customer reports. Upon information and belief, Experian disburses such consumer reports to third

  parties under contract for monetary compensation.

         10.     At all material times herein, Equifax is and has been a “consumer reporting agency” as

  defined by 15 U.S.C. § 1681a(f) of the FCRA and regularly engages in the business of assembling,

  evaluating, and disseminating information concerning customers for the purpose of furnishing

  customer reports. Upon information and belief, Equifax disburses such consumer reports to third

  parties under contract for monetary compensation.


                                                     -3-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 4 of 30



          11.     At all material times herein, Transunion is and has been a “consumer reporting agency”

  as defined by 15 U.S.C. § 1681a(f) of the FCRA and regularly engages in the business of assembling,

  evaluating, and disseminating information concerning customers for the purpose of furnishing

  customer reports. Upon information and belief, Transunion disburses such consumer reports to third

  parties under contract for monetary compensation.

          12.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the events and

  omissions giving rise to the claims occurred within this District and the real property that is the subject

  of this action is located in this District.

          13.     Plaintiff has engaged undersigned counsel and has agreed to pay counsel reasonable

  attorneys’ fees for all services rendered in this action.

          14.     All conditions precedent to the bringing of this action have been satisfied, excused or

  waived.

                                        GENERAL ALLEGATIONS

          15.     On or about November 20, 2013, to refinance the existing purchase money mortgage

  on the Property, Plaintiff obtained a loan in the original principal amount of $650,000.00 from

  Defendant TD, which loan was evidenced by that certain Fixed/Adjustable-Rate Note (the “Note”)

  executed by Plaintiff in favor of Defendant TD. A true and correct copy of the Note is attached hereto

  as Exhibit “A.”

          16.     To secure payment of the Note, Plaintiff executed and delivered to Mortgage Electronic

  Registration Systems, Inc. (“MERS”), as nominee for TD, a mortgage (the “Mortgage”) on the

  Property, which Mortgage was recorded on or about December 17, 2013 in Official Records Book




                                                      -4-
                                  DAVID H. HAFT, P.A.
                   1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 5 of 30



  26510, Page 1468 of the Public Records of Palm Beach County Florida. A true and correct copy of

  the Mortgage is attached hereto as Exhibit “B.”1

         17.     On or about February 19, 2015, Plaintiff and Defendant TD entered into a Loan

  Modification Agreement to the Note and Mortgage (“Loan Modification #1”) wherein, TD

  affirmatively stated that the unpaid principal balance (including any interest and other amounts

  capitalized) due on the Note as of March 1, 2015 was $641,954.74 and agreed, in relevant part, to

  extend the maturity date under the Note and Mortgage from December 1, 2043 to February 1, 2055

  (as extended, the “Maturity Date”), reduce the amount of Plaintiff’s monthly installment payment due

  under the Note, and modify the interest rate under the Note from an adjustable rate of 4.42% to a fixed

  3.00% annual rate through the Maturity Date. A true and correct copy of Loan Modification #1 is

  attached hereto as Exhibit “D.”

         18.     Thereafter, on or about August 11, 2016, following Plaintiff’s purported default for

  non-payment under the Note and Mortgage (as modified), Defendant TD commenced a lawsuit against

  Plaintiff to foreclose the Mortgage on the Property and for damages, Case No. 50-2016-CA-009022-

  XXXX-MB, in the 15th Judicial Circuit, in and for Palm Beach County, Florida (the “Foreclosure

  Lawsuit”).

         19.     To resolve the claims and issues raised in the Foreclosure Lawsuit2, on or about

  December 7, 2016, Plaintiff and Defendant TD entered into a second Loan Modification and

  Amendment Agreement (“Loan Modification #2”), wherein TD unequivocally affirmed that, as of




  1 Thereafter, on or about January 18, 2016, MERS, as nominee for Defendant TD, assigned the

  Mortgage to Defendant (the “Assignment”), which assignment was recorded on February 19, 2016 in
  Official Records Book 28113, Page 1422 of the Public Records of Palm Beach County Florida. A
  true and correct copy of the Assignment is attached hereto as Exhibit “C.”
  2 The Foreclosure Lawsuit was subsequently dismissed by Defendant TD on or about February 1,

  2017. See Notice of Voluntary Dismissal attached hereto as Exhibit “F.”
                                                     -5-
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                 1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 6 of 30



  December 7, 2016, the total outstanding balance owing on the Mortgage and Note was $672,258.96,

  which sum consisted of unpaid principal due on the Note in the amount of $640,566.58, and “other

  amounts capitalized, plus $31,692.38 of principal, accrued and uncollected interests and other amounts

  which are due upon maturity.” A true and correct copy of Loan Modification #2 is attached hereto as

  Exhibit “E.”

         20.     Pursuant to Loan Modification #2, Defendant TD further agreed, in relevant part, to: i)

  recast the balance owing under the Note; ii) retain the fixed 3.00% interest rate; and (iii) defer payment

  on $31,692.38 (the “Deferred Amount”) of accrued and uncollected interest under the Mortgage until

  the Majority Date. Additionally, Loan Modification #2 further modified the amount of Plaintiff’s

  monthly payment of principal and interest under the Note and Mortgage (as amended and modified),

  with such monthly payment, effective as of January 1, 2017, increasing from $2,298.10 to $2,350.46.

  See Ex. E.

         21.     Also, on or about December 7, 2016, by separate written correspondence sent to

  Plaintiff, Defendant TD confirmed the amount of the Deferred Amount (as described under Loan

  Modification #2) and advised Plaintiff regarding its intended treatment of such amounts under the

  subject loan documents, confirming that such deferred amounts were exclusive of Plaintiff’s payment

  of principal and interest payment under Loan Modification #2 and interest fee until the Maturity Date.

  A true and correct copy of the December 7, 2016 correspondence is attached hereto as Exhibit “G.”

         22.     The December 7, 2016th correspondence further confirmed that Plaintiff’s newly

  increased payment obligation under Loan Modification #2 consisted exclusively of principal and

  interest only under the Note and Mortgage (as amended and modified) and did not include payment

  of escrow for real estate taxes and insurance on the Property (the “Escrow”). Rather, the December

  7, 2016th correspondence provided that pursuant to the terms of Loan Modification #2, Plaintiff was


                                                     -6-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 7 of 30



  required to make a separate monthly payment to Defendant TD for the Escrow in the amount of

  $1,534.90.3 See Ex. G.

         23.     Thereafter, in accordance with his obligations under the Note, Mortgage, Loan

  Modification #1, and Loan Modification #2, beginning with the monthly payment due for January 12,

  2017, and continuing through and including December 31, 2017, Plaintiff made the following monthly

  payments to Defendant TD:

                        January, 2017:         $3,885.36
                        February, 2017:        $3,885.36
                        March, 2017:           $3,885.36
                        April, 2017:           $3,885.36
                        May, 2017:             $4,000.00
                        June, 2017:            $3,911.74
                        July, 2017:            $3,885.36
                        August, 2017:          $3,885.36
                        September, 2017:       $3,885.36
                        October, 2017:         $3,885.36
                        November, 2017:        $3,885.36
                        December, 2017:        $3,885.36

                        Total:                 $46,765.34

         24.     However, notwithstanding Plaintiff’s satisfaction of his obligations under the terms of

  Loan Modification #2, including making payment of all amounts due (in addition to making additional

  payments in excess of his monthly payment obligations thereunder), at all material times following

  the effective date of Loan Modification #2, Plaintiff’s mortgage account reflected a trailing (and past

  due) balance under the Note and Mortgage (as amended and modified).

         25.     Indeed, rather than applying Plaintiff’s payments in accordance with the terms of the

  Note and Mortgage (as amended and modified), and in the manner prescribed by Loan Modification




  3 Based on the modified terms of payment under Loan Modification #2 (including payments of

  Escrow), as of January 12, 2017, Plaintiff’s total monthly payment obligation under the Note and
  Mortgage (as amended and modified) increased to $3,885.36.
                                                    -7-
                                DAVID H. HAFT, P.A.
                 1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 8 of 30



  #2 (or consistent with the terms outlined by the December 7, 2016th correspondence), beginning in or

  around January, 2017 (and continuing for years thereafter), Defendant TD started misapplying

  Plaintiff’s monthly payments under his mortgage account, allocating payments made by Plaintiff and

  intended as payment of principal, interest and Escrow under the Note and Mortgage (as amended and

  modified), towards a purported Escrow account shortage, in addition to other unsupported and

  arbitrary charges including, but not limited to, monthly property inspection and legal fees, causing

  Plaintiff’s total monthly payment to never be sufficient to cover the alleged outstanding balance on

  Plaintiff’s mortgage account and, as a result, subjecting Plaintiff’s account to the continuous

  imposition of improper and unlawful monthly late fees and legal fees by Defendant TD.4

         26.     In addition to the above-described misapplication of Plaintiff’s payments, Defendant

  TD, also beginning in or around January, 2017, began designating and applying Plaintiff’s monthly

  payments as “unapplied funds” under the Note and Mortgage (as amended and modified), failing to

  properly credit such payments towards the outstanding principal, interest and/or the Escrow balance

  on Plaintiff’s loan, and instead holding said payments for weeks (or months) at a time following receipt

  of same before subsequently applying such amounts to Plaintiff’s account, but only after imposing

  additional fees and costs related to Plaintiff’s purportedly “late payments” under the Note and

  Mortgage (as amended and modified).

         27.     Yet, despite Defendant TD’s erroneous and improper billing and accounting practices,

  Plaintiff continued to comply with his obligations under the terms of Loan Modification #2, including

  continuing to make timely monthly payment of all amounts due and owing under the Note and

  Mortgage (as amended and modified). More specifically, beginning with the monthly payment due




  4 A true and correct copy of Plaintiff’s Account History prepared by Defendant TD on or about May

  14, 2018 is attached hereto as Exhibit “H.”
                                                    -8-
                                DAVID H. HAFT, P.A.
                 1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 9 of 30



  for January 12, 2018, and continuing through and including December 31, 2018, Plaintiff made the

  following monthly payments to Defendant TD:

                        January, 2018:         $4,000.00
                        February, 2018:        $4,493.74
                        March, 2018:           $4,000.00
                        April, 2018:           $4,493.74
                        May, 2018:             $7,647.28
                        June, 2018:            $4,000.00
                        July, 2018:            $1,269.54
                        August, 2018:          $4,004.00
                        September, 2018:       $8,253.74
                        October, 2018:         $4,004.00
                        November, 2018:        $4,004.00
                        December, 2018:        $4,004.00

                        Total:                 $58,178.04

         28.     However, notwithstanding Plaintiff’s payment of all amounts due and owing under

  Note and Mortgage (as amended and modified) during 2018, in addition to making approximately

  $20,000.00 of excess payments on his mortgage account, Defendant TD nevertheless continued to

  misapply Plaintiff’s monthly payments, a problem compounded even further by Defendant TD’s

  improper and erroneous practice of charging Plaintiff monthly late fees and other miscellaneous

  amounts on all payments made that, according to Defendant TD, were insufficient to satisfy in full the

  allegedly outstanding balance on Plaintiff’s mortgage account. Incredibly, despite Plaintiff making

  approximately two (2) years’ worth of overpayments, as a direct result of Defendant TD’s gross

  account mismanagement and improper and unlawful accounting and collection practices, Plaintiff was

  precluded from bringing his mortgage account current or otherwise into good-standing.

         29.     Rather, as reflected by the Escrow Account Disclosure Statement prepared by

  Defendant TD on or about November 19, 2018 in connection with Plaintiff’s mortgage account, as a

  result of Defendant TD’s improper billing practices and the misapplication of Plaintiff’s payments

  under the Note and Mortgage (as amended and modified), to satisfy the supposedly outstanding

                                                   -9-
                                DAVID H. HAFT, P.A.
                 1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 10 of 30



  balance owed on Plaintiff’s loan, Defendant TD continued to increase Plaintiff’s monthly payment

  obligations under the Note and Mortgage (as amended and modified), increasing Plaintiff’s total

  monthly payment, effective January 1, 2019, to $4,020.00, which amount consisted of in part, a

  supposed Escrow shortage of $356.93 per month. A true and correct copy of the November 19, 2018

  Escrow Disclosure Statement is attached hereto as Exhibit “I.”

         30.    Similar to 2017 and 2018, to ensure that Plaintiff was not placed in default status and

  subject to adverse reporting on his credit report by Defendant TD, beginning with the payment due

  for January 12, 2019, and continuing through and including December 31, 2019, Plaintiff made the

  following monthly payments to Defendant TD:

                        January, 2019:        $4,040.00
                        February, 2019:       $4,040.00
                        March, 2019:          $4,040.00
                        April, 2019:          $4,040.00
                        May, 2019:            $12,344.72
                        June, 2019:           $12,026.52
                        July, 2019:           $12,217.08
                        August, 2019:         $4,072.36
                        September, 2019:      $4,072.36
                        October, 2019:        $4,072.36
                        November, 2019:       $4,072.36
                        December, 2019:       $4,072.36
                        Total:                $73,110.12

         31.    Once again, and despite receiving all amounts due and owing from Plaintiff under the

  Note and Mortgage (as amended and modified), in addition to extra payments totaling more than

  $30,000.00 from Plaintiff throughout 2019, Defendant TD failed to properly credit such payments or

  otherwise reconcile Plaintiff’s account. Rather, similar to 2017 and 2018, Defendant TD likewise

  continued to misapply Plaintiff’s monthly payments made during 2019, continually treating each

  payment, irrespective of amount, as being late and constituting only a partial payment on Plaintiff’s




                                                  -10-
                                DAVID H. HAFT, P.A.
                 1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 11 of 30



  account, and subject to the imposition of additional fees and charges by Defendant TD under the Note

  and Mortgage (as amended and modified).

         32.     Moreover, in addition to Defendant TD’s above erroneous and improper accounting

  and billing practices, beginning in or around 2019, and without Plaintiff’s knowledge, Defendant TD,

  as a furnisher of information, notwithstanding the fact that Plaintiff had made excess payments of

  more than $60,000.00 during the preceding three (3) year period, began reporting Plaintiff’s mortgage

  account as being delinquent to the Credit Bureaus, in violation of the Fair Credit Reporting Act.

         33.     Unaware of the delinquency status of his loan or Defendant TD’s improper and

  erroneous credit reporting until 2021, Plaintiff made payment of all amounts of principal, interest and

  Escrow due under the Note and Mortgage (as amended and modified) for 2020 and 2021, yet, similar

  to each of the proceeding years, Defendant TD likewise treated each of Plaintiff’s payments made

  during 2020 and 2021 as “late,” subject to fees and/or other charges imposed by TD or otherwise

  improperly applied by Defendant TD to some other sum claimed as being due under the Note and

  Mortgage (as amended and modified). A true and correct copy of Plaintiff’s payment history for 2020

  and 2021 is attached hereto as Exhibit “J.”

         34.     On or about February 17, 2021, upon discovering Defendant TD’s erroneous credit

  reporting, Plaintiff contacted Hope Dunn, a customer Resolution Advocate at TD Bank, regarding the

  incorrect information being furnished by Defendant TD to the credit bureaus regarding Plaintiff’s

  Mortgage account. A true and correct copy Plaintiff’s February 17, 2021st correspondence to Hope

  Dunn is attached hereto as Exhibit “K.”

         35.     Despite Plaintiff’s initial correspondence sent on February 17, 2021, in addition to

  repeated follow up communications and phone calls, Defendant TD failed to adequately investigate




                                                   -11-
                                DAVID H. HAFT, P.A.
                 1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 12 of 30



  such reporting errors or correct same, resulting in a decrease to Plaintiff’s credit score and continuous

  negative reporting by Defendant TD to the Credit Bureaus relating to Plaintiff’s creditworthiness.

          36.     Indeed, despite Plaintiff’s repeated complaints to Defendant TD from 2020 to the

  present date regarding TD’s erroneous accounting and credit reporting relating to Plaintiff’s mortgage

  account, without first (or possibly ever) confirming the accuracy of its information or reporting,

  Defendant TD issued Mortgage Interest Statements (Form 1098-B) to Plaintiff and the Internal

  Revenue Service for tax years 2020 and 2021, containing false and incorrect information. True and

  correct copies of Plaintiff’s 2020 and 2021 Mortgage Interest Statements are attached hereto as

  Exhibits “L,” and “M,”5 respectively.

          37.     In reliance on the mortgage interest statements provided by Defendant TD, Plaintiff

  filed his personal tax returns for tax years 2020 and 2021with the IRS, which tax filings, upon

  information and belief, contain false and inaccurate information supplied by Defendant TD, and which

  may subject Plaintiff to additional tax liability, in addition to fines, interest, and penalties.

          38.     Thereafter, on or about March 1, 2022, Plaintiff, through undersigned counsel, sent

  Defendant TD a qualified written request under the Real Estate Settlement Practices Act, 12 U.S.C.

  §2605(e) (the “QWR”), which sought, in relevant part, information regarding the payment history and

  servicing of Plaintiff’s mortgage account with Defendant TD. A true and correct copy of the QWR is

  attached hereto as Exhibit “N.”

          39.     In response to the QWR, on or about April 6, 2022, Defendant TD sent correspondence

  to Plaintiff that purports to address the issues raised by the QWR (the “TD Response”). However,

  contrary to Defendant TD’s claims, the TD Response is woefully deficient and fails to address the



  5 By way of brief example, despite significant overpayments by Plaintiff during each of the relevant

  tax years, Defendant TD reported to the IRS a minimal decrease of Plaintiff’s principal balance due
  on the Note and Mortgage and inconsistent amounts of interest paid by Plaintiff.
                                                      -12-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 13 of 30



  accounting and servicing deficiencies described by the QWR, and instead includes only a payment

  history and other account summaries, in complete disregard for the requirements under RESPA. A

  true and correct copy of the TD Response is attached hereto as Exhibit “O.”

         40.     As reflected by the TD Response, Defendant TD, in addition to improperly applying

  Plaintiff’s payments under the Note and Mortgage (as amended and modified), has continually and

  improperly charged amounts not owed by Plaintiff or otherwise due under the Note and Mortgage (as

  amended and modified) including, but not limited to, amounts of deferred interest that have either

  already been paid by Plaintiff or otherwise subsumed and incorporated into Plaintiff’s principal

  balance under the terms of Loan Modification #1 and Loan Modification #2.

         41.     As a result of Defendant TD’s continued failures to address the concerns raised by the

  QWR or otherwise comply with its obligations under the terms of the Note, Mortgage, Loan

  Modification #1, and/or Loan Modification #2, by written correspondence dated June 14, 2022,

  Plaintiff advised Defendant TD regarding its default under the Note and Mortgage and demanded that

  Defendant TD cure said defaults within 20 days thereof (the “Default Notice”). A true and correct

  copy of the Default Notice is attached hereto as Exhibit “P.”

         42.     Notwithstanding receipt of the Default Notice, Defendant TD failed to cure its defaults

  under the terms of the Note, Mortgage, Loan Modification #1, and/or Loan Modification #2 within

  the time prescribed by the Default Notice (or any time thereafter). Through the filing of this amended

  pleading, Defendant TD has failed to cure the defaults described by the Default Notice and continued

  to violate the terms of the subject loan documents with impunity. As a result of Defendant TD’s

  inaccurate, improper and erroneous reporting and record keeping, Plaintiff has suffered damages,

  which will continue for the foreseeable future.




                                                    -13-
                                DAVID H. HAFT, P.A.
                 1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 14 of 30



                                 COUNT I- BREACH OF CONTRACT

         43.     Plaintiff re-alleges and re-incorporates the allegations contained in paragraphs 1

  through 3 and 7 through 42, as if fully set forth herein.

         44.     Plaintiff and Defendant TD entered into the Mortgage and Note, as modified by the

  terms of Loan Modification #1 and Loan Modification #2, relating to the Property.

         45.     Defendant TD breached the terms of the Note and Mortgage (as modified and

  amended) by, without limitation, failing to timely and correctly apply all payments received from

  Plaintiff, improperly and unlawfully assessing and charging Plaintiff for fees and other charges for

  which Defendant TD is not otherwise entitled or agreed to by the parties, and erroneously causing

  Plaintiff’s account to be placed in default status.

         46.     As a result of Defendant TD’s breaches under the terms of the Note and Mortgage (as

  amended and modified), Plaintiff has been harmed.

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment for damages

  against Defendant TD, including actual damages, reasonable attorneys’ fees, costs, pre and post-

  judgment interest, and such other relief as this Court deems just and proper.

                        COUNT II- BREACH OF IMPLIED COVENANT OF
                             GOOD FAITH AND FAIR DEALING

         47.     Plaintiff re-alleges and re-incorporates the allegations contained in paragraphs 1

  through 3 and 7 through 42, as if fully set forth herein.

         48.     The Note, Mortgage, Loan Modification #1 and Loan Modification #2 are valid and

  binding contracts between Plaintiff and Defendant TD relating to the financing and servicing of

  Plaintiff’s Mortgage on the Property.




                                                        -14-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 15 of 30



         49.     The Note, Mortgage, Loan Modification #1 and Loan Modification #2 require that

  Defendant TD properly account for Plaintiff’s payments and report same to the credit reporting

  bureaus on Plaintiff’s behalf upon satisfaction by Plaintiff of the conditions and terms set forth therein.

         50.     Plaintiff has performed all of its obligations under Note, Mortgage, Loan Modification

  #1 and Loan Modification #2.

         51.     Notwithstanding, Defendant TD has consciously and deliberately refused to comply

  with its duties owed to Plaintiff under the terms of the subject loan documents to accurately maintain

  Plaintiff’s payment records and status with the credit bureaus with respect to the Property.

         52.     Defendant TD’s conscious and deliberate refusal to abide by the terms of the Note,

  Mortgage, Loan Modification #1 and Loan Modification #2 has unfairly frustrated the agreed common

  purpose of such loan documents and disappointed the reasonable expectations of Plaintiff.

         53.     Plaintiff has been deprived of the benefits under terms of the Note, Mortgage, Loan

  Modification #1 and Loan Modification #2 as a direct consequence of Defendant TD’s conscious and

  deliberate conduct thereunder. As a result, Plaintiff has experienced significant losses.

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment for damages

  against Defendant TD, including actual damages, reasonable attorneys’ fees, costs, pre and post-

  judgment interest, and such other relief as this Court deems just and proper.

                                           COUNT III-
                                    VIOLATION OF 26 U.S.C. 6050H

         54.     Plaintiff re-alleges and re-incorporates the allegations contained in paragraphs 1

  through 3 and 7 through 42, as if fully set forth herein.

         55.     Plaintiff asserts that there exists an implied private right of action to enforce the terms

  of 26 U.S.C. § 6050H under the test established in Cort v. Ash, 422, U.S. 66, 78 (1975).



                                                     -15-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 16 of 30



         56.     Defendant TD had a duty to accurately report to the IRS the amount of mortgage

  interest that Plaintiff paid to it under the Note and Mortgage (as amended and modified) pursuant to

  26 U.S.C. § 6050H.

         57.     Defendant TD breached this duty by failing to properly report the correct amounts of

  interest paid by Plaintiff on Form 1098 for tax years 2020 and 2021.

         58.     As a proximate result of Defendant TD Bank’s breach of its statutory duty as alleged

  herein, Plaintiff has been harmed by receiving inaccurate Form 1098’s for tax years 2020 and 2021

  and has suffered damages as a result thereof including, without limitation, being deprived of the ability

  to accurately report to the IRS the full and correct amount of his mortgage interest deduction.

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment for damages

  against Defendant TD, including actual damages, statutory damages, reasonable attorneys’ fees, costs,

  pre and post-judgment interest, and such other relief as this Court deems just and proper.

                                COUNT IV-
         NEGLIGENCE- DUTY TO ACCURATELY REPORT UNDER 26 U.S.C. 6050H

         59.     Plaintiff re-alleges and re-incorporates the allegations contained in paragraphs 1

  through 3 and 7 through 42, as if fully set forth herein.

         60.     Defendant TD had a legal duty to accurately report to the IRS and to Plaintiff the

  amount of mortgage interest received from Plaintiff during each tax year under the Note and Mortgage

  (as amended and modified) pursuant to 26 U.S.C. § 6050H.

         61.     Defendant TD breached this duty by failing to properly account for and report the

  correct amounts of interest received from Plaintiff during tax years 2020 and 2021 and accurately

  report same to the IRS on Form 1098 for said tax years.

         62.     As a proximate result of Defendant TD Bank’s breach of its statutory duty as alleged

  herein, Plaintiff has been harmed by receiving inaccurate Form 1098’s for tax years 2020 and 2021

                                                     -16-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 17 of 30



  and has suffered damages as a result thereof including, without limitation, being deprived of the ability

  to accurately report to the IRS the full and correct amount of his mortgage interest deduction.

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment for damages

  against Defendant TD, including actual damages, statutory damages, reasonable attorneys’ fees, costs,

  pre and post-judgment interest, and such other relief as this Court deems just and proper.

                                 COUNT V-
          NEGLIGENCE- DUTY TO CORRECT MISTAKES UNDER 26 U.S.C. 6050H

         63.     Plaintiff re-alleges and re-incorporates the allegations contained in paragraphs 1

  through 3 and 7 through 42, as if fully set forth herein.

         64.     Defendant TD had a legal duty to correct any mistakes on any incorrect Form 1098 as

  soon as possible after determining that a wrong amount had been reported to the IRS pursuant to

  26 U.S.C. § 6050H.

         65.     Defendant TD breached this duty by failing to correct mistakes for tax years 2020 and

  2021 on Form 1098 after being advised that its accounting was incorrect and Plaintiff’s payments were

  misapplied during said tax years.

         66.     Notwithstanding Defendant TD’s knowledge regarding such errors, Defendant TD

  failed to correct such mistakes or issue amended Form 1098’s to reflect the correct amount of interest

  received from Plaintiff.

         67.     As a proximate result of Defendant TD Bank’s breach of its statutory duty as alleged

  herein, Plaintiff has been harmed.

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment for damages

  against Defendant TD, including actual damages, statutory damages, reasonable attorneys’ fees, costs,

  pre and post-judgment interest, and such other relief as this Court deems just and proper.



                                                     -17-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 18 of 30



                                     COUNT VI-
                  NEGLIGENCE PER SE-VIOLATION UNDER 26 U.S.C. 6050H

          68.    Plaintiff re-alleges and re-incorporates the allegations contained in paragraphs 1

  through 3 and 7 through 42, as if fully set forth herein.

          69.    Defendant TD had a statutory duty to accurately report to the IRS and to Plaintiff the

  amount of mortgage interest received from Plaintiff during each tax year under the Note and Mortgage

  (as amended and modified) pursuant to 26 U.S.C. § 6050H.

          70.    Defendant TD breached its statutory duty under 26 U.S.C. § 6050H by failing to

  properly report the correct amounts of interest paid by Plaintiff on Form 1098 for tax years 2020 and

  2021.

          71.    As a proximate result of Defendant TD Bank’s breach of its statutory duty as alleged

  herein, Plaintiff has been harmed by receiving inaccurate Form 1098’s for tax years 2020 and 2021

  and has suffered damages as a result thereof including, without limitation, being deprived of the ability

  to accurately report to the IRS the full and correct amount of his mortgage interest deduction.

          WHEREFORE, Plaintiff respectfully requests that this Court enter judgment for damages

  against Defendant TD, including actual damages, statutory damages, reasonable attorneys’ fees, costs,

  pre and post-judgment interest, and such other relief as this Court deems just and proper.

                                           COUNT VII-
                                      PROMISSORY ESTOPPEL

          72.    Plaintiff re-alleges and re-incorporates the allegations contained in paragraphs 1

  through 3 and 7 through 42, as if fully set forth herein.

          73.    Defendant TD affirmatively represented under Loan Modification #2 that as of

  December 7, 2016, the total outstanding balance owing on the Mortgage (as amended and modified)

  and Note was $672,258.96, which sum consisted of unpaid principal due on the Note in the amount


                                                     -18-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 19 of 30



  of $640,566.58, and “other amounts capitalized, plus $31,692.38 of principal, accrued and uncollected

  interests and other amounts which are due upon maturity.”

           74.   Defendant TD intended for Plaintiff to rely upon such representations in entering into

  Loan Modification #2.

           75.   Notwithstanding Defendant TD’s intention that Plaintiff rely on such representations,

  Defendant TD subsequently changed its position regarding the amounts due and owing under the Note

  and Mortgage (as amended and modified) to the detriment of Plaintiff, by claiming additional sums

  not otherwise disclosed or contemplated as of the execution of Loan Modification #2 were owed by

  Plaintiff.

           76.   It would be inequitable for Defendant TD to change its previously represented position

  under Loan Modification #2.

           77.   As such, Defendant TD must be precluded from claiming that the amount owed by

  Plaintiff as of the execution of Loan Modification #2 is anything different than the amounts described

  above.

           WHEREFORE, Plaintiff respectfully requests that this Court enter judgment equitably

  estopping Defendant TD from changing its position under Loan Modification #2 to the detriment of

  Plaintiff, in addition to awarding Plaintiff damages, reasonable attorneys’ fees, costs, pre and post-

  judgment interest, and such other relief as this Court deems just and proper.

                                        COUNT VIII-
                               VIOLATION OF RESPA- 26 U.S.C. 2605

           78.   Plaintiff re-alleges and re-incorporates the allegations contained in paragraphs 1

  through 3 and 7 through 42, as if fully set forth herein.




                                                     -19-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 20 of 30



         79.     Defendant TD is a “servicer” because it was responsible for “servicing” Plaintiff’s

  mortgage loan and was scheduled to receive period payments from Plaintiff pursuant to the terms of

  the Note and Mortgage (as amended and modified).

         80.     Defendant TD received the QWR sent by Plaintiff regarding the Note and Mortgage

  (as amended and modified) and Defendant TD’s servicing related to same.

         81.     Plaintiff’s QWR constitutes a “request for information” pursuant to 12 CFR § 1024,36.

         82.     Defendant TD failed to respond adequately to the QWR as required pursuant to

  RESPA.

         83.     As a result of Defendant TD’s failure to comply with RESPA, Plaintiff has suffered

  damages.

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment for damages

  against Defendant TD, including actual damages, statutory damages, reasonable attorneys’ fees, costs,

  pre and post-judgment interest, and such other relief as this Court deems just and proper.

                                  COUNT IX-
          VIOLATION OF FCCPA- SECTION 559.72, ET SEQ.- FLORIDA STATUTES

         84.     Plaintiff re-alleges and re-incorporates the allegations contained in paragraphs 1

  through 3 and 7 through 42, as if fully set forth herein.

         85.     Florida Statutes, Section 559.72, prohibits any person from engaging in enumerated

  debt collection practices including, but not limited to, attempting to collect on amounts not owed or

  for which defendants are not entitled.

         86.     Defendant TD violated the provisions for the FCCPA by, without limitation,

  attempting to collect on debts from Plaintiff under the Note and Mortgage (as amended and modified)

  that Defendant TD knew were not legitimate and by otherwise asserting the existence of some legal

  right that Defendant TD knew did not exist.

                                                     -20-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 21 of 30



         87.     Specifically, Defendant TD knew that it was not entitled to collect amounts under the

  Note and Mortgage (as amended and modified) that were otherwise subsumed or addressed by the

  terms of Loan Modification #2, but nevertheless repeatedly sent Plaintiff notices demanding that

  Plaintiff make payment of such amounts and Defendant TD’s intent to declare Plaintiff in default for

  failing to pay such sums.

         88.     Defendant TD’s conduct served no purpose other than to annoy and harass Plaintiff

  and exhaust Plaintiff into paying illegitimate charges and fees under the Note and Mortgage (as

  amended and modified).

         89.     As a direct and proximate result of Defendant TD’s actions, Plaintiff has suffered

  damages as defined by Florida Statutes, Section 559.77, in addition to suffering non-pecuniary

  damages in the form of emotional distress, anxiety, inconvenience, and annoyance, as a result of

  Defendant TD’s unlawful debt collection attempts.

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment for damages

  against Defendant TD, including actual damages, statutory damages, reasonable attorneys’ fees, costs,

  pre and post-judgment interest, and such other relief as this Court deems just and proper.

                                        COUNT X-
                          VIOLATION OF FDCPA- 15 U.S.C. 1692 ET SEQ.

         90.     Plaintiff re-alleges and re-incorporates the allegations contained in paragraphs 1

  through 3 and 7 through 42, as if fully set forth herein.

         91.     Defendant TD is subject to, and violated the provisions of 15 USC 1692d by, without

  limitation, using false representations and deceptive means in attempting to collect unlawful amounts

  from Plaintiff, in addition to falsely representing the legal status of character of the debt under the

  Note and Mortgage (as amended and modified).




                                                     -21-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 22 of 30



          92.     Specifically, despite being repeatedly advised by Plaintiff that the amounts claimed as

  due and owing under the Note and Mortgage were incorrect, and that Plaintiff was not in default

  thereunder, Defendant TD continued making demand on Plaintiff for payment of amounts it knew

  were not due on Plaintiff’s account.

          93.     Despite Plaintiff’s disputes of Defendant TD’s representations of the amounts allegedly

  owed on the Note and Mortgage (as amended and modified), in addition to providing proof of payment

  for same, Defendant TD continued to send demands to Plaintiff in an attempt to exhaust Plaintiff’s

  will and collect amounts from Plaintiff that Defendant knew it was not otherwise entitled to.

          94.     As a result, Defendant TD attempted to collect amounts from Plaintiff that were not

  otherwise created by agreement of the parties or otherwise permitted by law.

          95.     Defendant TD’s conduct serves no purpose other than to harass, abuse or annoy

  Plaintiff into paying such overstated amounts.

          96.     As a direct and proximate result of Defendant TD’s actions, Plaintiff has suffered

  damages as defined by 15 USC 1692k.

                                         COUNT XI-
                              VIOLATION OF FCRA- 15 USC 1681S-2(B)

          97.     Plaintiff re-alleges and re-incorporates the allegations contained in paragraphs 1

  through 3 and 7 through 42, as if fully set forth herein.

          98.     Defendant TD is subject to, and violated the provisions of, 15 U.S.C., Section 1681s-

  2(b), by willfully and/or negligently publishing or furnishing inaccurate trade-line information within

  Plaintiff’s credit reports, failing to re-investigate Plaintiff’s disputes, failing to review all relevant

  information fully and properly regarding the same, and failing to correctly report the debt on Plaintiff’s

  credit reports after re-investigating Plaintiff’s dispute.




                                                      -22-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 23 of 30



         99.     As described above, despite Defendant TD receiving notice of Plaintiff’s dispute

  regarding the debt alleged as due under the Note and Mortgage (as amended and modified), Defendant

  TD willfully and/or negligently reported erroneous and inaccurate credit information regarding the

  debt to Transunion, Experian, and Equifax.

         100.    After receiving notice of Plaintiff’s dispute, Defendant TD inaccurately reported and

  verified the TD Mortgage debt to the credit reporting bureaus as being in default status, which

  designation negatively and adversely reflected on Plaintiff’s credit reports and credit files as

  maintained by Experian, Equifax and TransUnion.

         101.    Defendant TD’s refusal to update the account associated with the TD Mortgage debt to

  reflect the accurate amount paid by Plaintiff was intentionally, willfully, and knowingly done.

         102.    Moreover, in response to Plaintiff’s TD Mortgage dispute to Equifax, Experian and

  TransUnion, Defendant TD failed to mark or otherwise indicate that Plaintiff disputed Defendant TD’s

  reporting of the subject Mortgage debt.

         103.    As such, Defendant TD provided inaccurate or incomplete information to Experian,

  Equifax, and TransUnion in response to Plaintiff’s TD Mortgage debt dispute.

         104.    Defendant TD’s re-investigations were not conducted in good faith.

         105.    Defendant TD’s re-investigations were not conducted reasonably.

         106.    Defendant TD’s re-investigations were not conducted using all information available

  to Defendant, inaccurately report the TD Mortgage debt and otherwise fail to show that the TD

  Mortgage debt was disputed by Plaintiff.

         107.    Additionally, as a result of Defendant TD’s action, Plaintiff has suffered emotional

  distress, anxiety, inconvenience, frustration, annoyance, fear, and confusion, believing that despite

  repeatedly advising Defendant TD that he disputed Defendant’s reporting of the TD Mortgage debt,


                                                   -23-
                                DAVID H. HAFT, P.A.
                 1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 24 of 30



  Plaintiff must simply endure Defendant TD’s erroneous, inaccurate, and incomplete reporting of the

  TD Mortgage debt.

          108.    Defendant TD’s conduct was a direct and proximate cause of, as well as a substantial

  factor in, causing the serious injuries, damages, and harm to Plaintiff as stated herein.

          109.    Defendant TD’s actions in violation of 15 United States Code, Section 1681s-2(b),

  constitute negligent or willful noncompliance, or both, with the FCRA, and entitle Plaintiff to actual

  damages, statutory damages, and punitive damages, as well as attorneys’ fees and costs as enumerated

  in 15 United States Code, Sections 1681n or 1681o, or both.

                                           COUNT XII-
                                  VIOLATION OF FCRA- 15 USC 1681
                                       (against Equifax only)

          110.    Plaintiff re-alleges and re-incorporates the allegations contained in paragraphs 4

  through 42, as if fully set forth herein.

          111.    This is an action for the willful and negligent violation of the FCRA by Defendant

  Equifax.

          112.    Defendant Equifax violated 15 U.S.C. § 1601(e) by failing to establish or to follow

  reasonable procedures to assure maximum possible accuracy in the preparation of the credit report

  and credit files that Defendant Equifax maintained concerning Plaintiff.

          113.    Defendant Equifax violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate

  information from the credit file of the Plaintiff after receiving actual notice of such inaccuracies and

  conducting reinvestigation and by failing to maintain reasonable procedures with which to verify the

  disputed information in the credit file of the Plaintiff.

          114.    Defendant Equifax has willfully and recklessly failed to comply with the FCRA by,

  without limitation:


                                                      -24-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 25 of 30



                 a)      failing to follow reasonable procedures to assure the maximum possible

         accuracy of the information reported;

                 b)      The failure to correct erroneous personal information regarding the Plaintiff

         after a reasonable request by the Plaintiff;

                 c)      The failure to remove and/or correct the inaccuracy and derogatory credit

         information after a reasonable request by the Plaintiff;

                 d)      The failure to promptly and adequately investigate information which

         Defendant Equifax had notice was inaccurate;

                 e)      The continual placement of inaccurate information into the credit report of the

         Plaintiff after being advised by the Plaintiff that the information was inaccurate;

                 f)      The failure to note in the credit report that the Plaintiff disputed the accuracy

         of the information;

                 g)      The failure to promptly delete information that was found to be inaccurate, or

         could not be verified, or that the source of information had advised Equifax to delete; and

                 h)      The failure to take adequate steps to verify information Equifax had reason to

         believe was inaccurate before including it in the credit report of the consumer.

         115.    As a result of the conduct, action and inaction of Equifax, the Plaintiff suffered damage

  by loss of credit, loss of ability to purchase and benefit from credit, and the mental and emotional pain,

  anguish, humiliation and embarrassment of credit denial.

         116.    The conduct, action and inaction of Equifax was willful rendering Equifax liable for

  actual, statutory and punitive damages in an amount to be determined at trial.




                                                     -25-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 26 of 30



          117.    The conduct, action and inaction of Equifax was negligent, entitling the Plaintiff to

  damages under 15 U.S.C. § 1681o and to recover its reasonable costs and attorney’s fees from

  Defendant Equifax pursuant 15 U.S.C. § 1681(n).

          WHEREFORE, Plaintiff respectfully requests that this Court enter judgment for damages

  against Defendant Equifax, including actual damages, statutory damages, punitive damages,

  reasonable attorneys’ fees, costs, pre and post-judgment interest, and such other relief as this Court

  deems just and proper.

                                           COUNT XIII-
                                  VIOLATION OF FCRA- 15 USC 1681
                                       (against Experian only)

          118.    Plaintiff re-alleges and re-incorporates the allegations contained in paragraphs 4

  through 42, as if fully set forth herein.

          119.    This is an action for the willful and negligent violation of the FCRA by Defendant

  Experian.

          120.    Defendant Experian violated 15 U.S.C. § 1601(e) by failing to establish or to follow

  reasonable procedures to assure maximum possible accuracy in the preparation of the credit report

  and credit files that Defendant Experian maintained concerning Plaintiff.

          121.    Defendant Experian violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate

  information from the credit file of the Plaintiff after receiving actual notice of such inaccuracies and

  conducting reinvestigation and by failing to maintain reasonable procedures with which to verify the

  disputed information in the credit file of the Plaintiff.

          122.    Defendant Experian has willfully and recklessly failed to comply with the FCRA by,

  without limitation:




                                                      -26-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 27 of 30



                     g)      failing to follow reasonable procedures to assure the maximum possible

              accuracy of the information reported;

                     h)      The failure to correct erroneous personal information regarding the Plaintiff

              after a reasonable request by the Plaintiff;

                     i)      The failure to remove and/or correct the inaccuracy and derogatory credit

              information after a reasonable request by the Plaintiff;

                     j)      The failure to promptly and adequately investigate information which

              Defendant Equifax had notice was inaccurate;

                     k)      The continual placement of inaccurate information into the credit report of the

              Plaintiff after being advised by the Plaintiff that the information was inaccurate;

                     l)      The failure to note in the credit report that the Plaintiff disputed the accuracy

              of the information;

                     g)      The failure to promptly delete information that was found to be inaccurate, or

              could not be verified, or that the source of information had advised Equifax to delete; and

                     h)      The failure to take adequate steps to verify information Equifax had reason to

              believe was inaccurate before including it in the credit report of the consumer.

              123.   As a result of the conduct, action and inaction of Equifax, the Plaintiff suffered damage

  by loss of credit, loss of ability to purchase and benefit from credit, and the mental and emotional pain,

  anguish, humiliation and embarrassment of credit denial.

              124.   The conduct, action and inaction of Defendant Experian was willful rendering

  Defendant Experian liable for actual, statutory and punitive damages in an amount to be determined

  at trial.




                                                         -27-
                                     DAVID H. HAFT, P.A.
                      1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 28 of 30



          125.    The conduct, action and inaction of Defendant Experian was negligent, entitling the

  Plaintiff to damages under 15 U.S.C. § 1681o and to recover its reasonable costs and attorney’s fees

  from Defendant Experian pursuant 15 U.S.C. § 1681(n).

          WHEREFORE, Plaintiff respectfully requests that this Court enter judgment for damages

  against Defendant Experian, including actual damages, statutory damages, punitive damages,

  reasonable attorneys’ fees, costs, pre and post-judgment interest, and such other relief as this Court

  deems just and proper.

                                            COUNT XIV-
                                  VIOLATION OF FCRA- 15 USC 1681
                                      (against Transunion only)

          126.    Plaintiff re-alleges and re-incorporates the allegations contained in paragraphs 4

  through 42, as if fully set forth herein.

          127.    This is an action for the willful and negligent violation of the FCRA by Defendant

  Transunion.

          128.    Defendant Transunion violated 15 U.S.C. § 1601(e) by failing to establish or to follow

  reasonable procedures to assure maximum possible accuracy in the preparation of the credit report

  and credit files that Defendant Transunion maintained concerning Plaintiff.

          129.    Defendant Transunion violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate

  information from the credit file of the Plaintiff after receiving actual notice of such inaccuracies and

  conducting reinvestigation and by failing to maintain reasonable procedures with which to verify the

  disputed information in the credit file of the Plaintiff.

          130.    Defendant Transunion has willfully and recklessly failed to comply with the FCRA by,

  without limitation:




                                                      -28-
                                 DAVID H. HAFT, P.A.
                  1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 29 of 30



                     m)      failing to follow reasonable procedures to assure the maximum possible

              accuracy of the information reported;

                     n)      The failure to correct erroneous personal information regarding the Plaintiff

              after a reasonable request by the Plaintiff;

                     o)      The failure to remove and/or correct the inaccuracy and derogatory credit

              information after a reasonable request by the Plaintiff;

                     p)      The failure to promptly and adequately investigate information which

              Defendant Equifax had notice was inaccurate;

                     q)      The continual placement of inaccurate information into the credit report of the

              Plaintiff after being advised by the Plaintiff that the information was inaccurate;

                     r)      The failure to note in the credit report that the Plaintiff disputed the accuracy

              of the information;

                     g)      The failure to promptly delete information that was found to be inaccurate, or

              could not be verified, or that the source of information had advised Equifax to delete; and

                     h)      The failure to take adequate steps to verify information Equifax had reason to

              believe was inaccurate before including it in the credit report of the consumer.

              131.   As a result of the conduct, action and inaction of Defendant Transunion, the Plaintiff

  suffered damage by loss of credit, loss of ability to purchase and benefit from credit, and the mental

  and emotional pain, anguish, humiliation and embarrassment of credit denial.

              132.   The conduct, action and inaction of Defendant Transunion was willful rendering

  Defendant Experian liable for actual, statutory and punitive damages in an amount to be determined

  at trial.




                                                         -29-
                                     DAVID H. HAFT, P.A.
                      1526 CARDINAL WAY, SUITE A • WESTON, FLORIDA 33327
Case 9:22-cv-81037-AMC Document 11 Entered on FLSD Docket 10/06/2022 Page 30 of 30



         133.    The conduct, action and inaction of Defendant Transunion was negligent, entitling the

  Plaintiff to damages under 15 U.S.C. § 1681o and to recover its reasonable costs and attorney’s fees

  from Defendant Experian pursuant 15 U.S.C. § 1681(n).

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment for damages

  against Defendant Transunion, including actual damages, statutory damages, punitive damages,

  reasonable attorneys’ fees, costs, pre and post-judgment interest, and such other relief as this Court

  deems just and proper.

                                    RESERVATION OF RIGHTS

         Plaintiff hereby reserves the right to amend this pleading as discovery progresses.

                                           JURY DEMAND

         Plaintiff Mark Krieger hereby demands a trial by jury on all issues so triable.


         Dated this 6th day of October, 2022.
                                                              Respectfully Submitted,

                                                              By:     /s/ David H. Haft
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                                                   -30-
                                DAVID H. HAFT, P.A.
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